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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JARED C. DOLAN
     Assistant U.S. Attorney
 3   501 I Street, Ste. 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2767
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        2:11-CR-00323-JAM
                                   )
12             Plaintiff,          )        PRELIMINARY ORDER OF
                                   )        FORFEITURE
13        v.                       )
                                   )
14   KENNETH GEORGE EATON,         )
                                   )
15             Defendant.          )
     ______________________________)
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Kenneth George Eaton, it
19   is hereby ORDERED, ADJUDGED AND DECREED as follows:
20        1.   Pursuant to 21 U.S.C. § 853(a), defendant Kenneth George
21   Eaton’s interest in the following properties shall be condemned
22   and forfeited to the United States of America, to be disposed of
23   according to law:
24              a)    Approximately $46,000.00 in U.S. Currency
25        2.   The above-listed properties constitute properties used,
26   or intended to be used, in any manner or part, to commit, or to
27   facilitate the commission of a violation of 21 U.S.C. §§ 846 and
28   841(a)(1), or constitute or are derived from proceeds obtained,


                                       1              Preliminary Order of Forfeiture
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 1   directly or indirectly, as a result of the said violations.
 2         3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 3   designee) shall be authorized to seize the above-listed
 4   properties. The aforementioned properties shall be seized and
 5   held by the U.S. Marshals Service and/or the Internal Revenue
 6   Service - Criminal Investigation, in their secure custody and
 7   control.
 8         4.    a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 171,
 9   the United States shall publish notice of the order of
10   forfeiture.      Notice of this Order and notice of the Attorney
11   General’s (or a designee’s) intent to dispose of the property in
12   such manner as the Attorney General may direct shall be posted
13   for at least 30 consecutive days on the official internet
14   government forfeiture site www.forfeiture.gov.          The United States
15   may also, to the extent practicable, provide direct written
16   notice to any person known to have alleged an interest in the
17   properties that are the subject of the order of forfeiture as a
18   substitute for published notice as to those persons so notified.
19               b.    This notice shall state that any person, other than
20   the defendant, asserting a legal interest in the above-listed
21   properties, must file a petition with the Court within sixty (60)
22   days from the first day of publication of the Notice of
23   Forfeiture posted on the official government forfeiture site, or
24   within thirty (30) days from receipt of direct written notice,
25   whichever is earlier.
26   ///
27   ///
28   ///


                                        2              Preliminary Order of Forfeiture
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 1        5.   If a petition is timely filed, upon adjudication of all
 2   third-party interests, if any, this Court will enter a Final
 3   Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all
 4   interests will be addressed.
 5        SO ORDERED this 14th day of March, 2013.
 6
                                       /s/ John A. Mendez
 7                                     JOHN A. MENDEZ
                                       United States District Court Judge
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